                     UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

UNITED STATES OF AMERICA,
                                                     DOCKET NO. 3:11cr 374-2

             V.                                      ORDER GRANTING DEFENDANT’S
                                                     REQUEST TO DELAY REPORT
CHRIS T. BELIN                                       DATE TO THE BUREAU OF
                                                     PRISONS


______________________________________________________________________

This MATTER is before the Court by an unopposed motion of the Defendant to delay the date
the Defendant shall report to the custody of the Bureau of Prisons. For good cause shown, it is
hereby ORDERED that the Defendant’s date to report to the Bureau of Prisons shall be delayed
between July 1 and July 31, 2014.

IT IS SO ORDERED.

                                                    Signed: May 20, 2014




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